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Name & Number:      ~\Cul\       O(!.,i..fc-d                    Case: 2: 18-cv.;;;GOZ93........... --·----· ...,. -~·,.
Attorney Pro Se            ffe/ 6 f'lt.j i) l                    Assigned To: Stew~fil!f~~l:L l\
Utah State Prison                       ¢                        Assign. Date: 1011odo 18
PO Box 250                                                       Description: Oblad v. Ramirez
Draper, Utah 84020
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                 IN THE UNITED STATES DISTRICT COURT, DISTRICT OF UTAH
                             .'  CENTRAL DIVISION                     OCT                                                         1 0 2018
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~      1tf/Y'11v rA(Q.j Plaintiff,                      )    Case No. _ _ _ _ _ _ __

vs.
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'Jt 0\(\-'4 '> Av '\k.~                                 ))
                                  ' )                        CIVIL RIGHTS COMPLAINT AND
 ~\\\&
 .     k~.ri( (~ \',.;i.J(){ ~o-~- tn~~)j
                             Q     \.
                                                             DEMAND FOR JURY TRIAL
JOHN DOES 1-10, employees at            )
Utah State Prison, individually,                        )    Pursuant to 42 U.S.C. §1983
                                                        )
                                                        )


                                                JURISDICTION

       1.   Plaintiff   ~(\ fkfi o~::Uttt                    is a citizen.of Utah, who presently resides at the

       Utah State Prison, P.O. Box 250, Draper, Utah 84020.

       2.   Defendant     .fiil~fB.(                  _ _ is a citizen of Utah, and is employed as the

       _\.._·_~v_"i--'--.--'-Q'-'-~-'---"...._J{_-JJ_,,,V"--------- at the   Utah State Prison for the Utah

       Department of Corrections. At the time the claim(s) alleged in this complaint arose, this

       defendant was acting under color of state law in that he/she is the            &f>t.A/fl$\f!;f.,; (fl>
                                                                                                                     .        ~J, ei\17
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       Utah State Prison for the Utah Department of Corrections and is directly responsible for the

       wrongful actions alleged herein.
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                                                                                     ('.



                (2)        Supporting Facts:      S'\Mf ~-!lt-0-{ ~LL CL. A.\v0~ \12.«k~r..,r-J l~,-.?'
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                                                  D.INJURY

1.      How have you been injured by the actions of the defendant(s)?

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               E. J;>REVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1.      Have you filed other lawsuits in state or federal court that deal with the same facts that are
        involved ill this action or other-wise relate to the cOriditions of your imprisomnent?
        YES~ I NO _ _. If your answer is "YES," describe each lawsuit. (If there is more
        than one lawsuit, describe additional lawsuits on additional separate pages, using the same
        outline.)

        a.                Parties to previous lawsuit:

                          Plaintiff(s):   f>flDli\ Geil\~
                          Defendant(s):    l.l'i\ b,·m,·\+\j g\~           ()f U"TM-\, lo~v.£\." f'><:\\t>'fW..'--(   l['L f/-L-,
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        b.     Name of court and case or docket number:
                                                                           ~: q '; l\/~ \JJ._
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                                                                                                                              ~\q\e.} tJ (~'if"l\fL1J
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     3.         Defendant ~\\V (.()v')ff)~._,                                                 is a citizen of Utah, and is employed as the

     _,,0'°-''~\. . .                       Q.;""'--_:C-'-o--""O'--"-<fl""""~'--'fu-....,_\-~u<'---_ _ _
                 Ri_,._J-=;,:,IJ\.Ll<f?."'""''                                                             at the Utah State Prison for. the Utah

     Department of Corrections. At the time the claim(~) alleged in this complaint arose, this

     defendant                            was         acting         under          color         of       state   law   in   that    he/she   is   the

     ···-·----·-··-~···-----····-_....___.. _ for the Utah Department of Corrections and is directly

     responsible for the wrongful actions alleged herein.

     4.                                            Lu D'( {Z,v.V\A.lv:eJv
                Other Defendants by name and position, if known:

         l>rt.A;W.,f 1JH\<NIJJA4'~ Ux ~W,,,,\lJ·( \~ """" / ~ rJo'\.
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         ~-tJ~'( QD~~\.v.-\o\o.;                                                   \ruJ·iA·\                              .

     5.         Defendant John Does 1-10, whose true names are unknown and when true names are

     ascertained the pleadings will be amended accordingly, are citizens of Utah, and are

     employed at the Utah State Prison. At the time the claim(s) alleged in this complaint arose,

     these defendants were acting under color of state law in that they are employees for the Utah

     Department of Corrections and are directly responsible for wrongful actions alleged herein.

     6.         Jurisdiction is invoked pursuant to 28 U.S.C. §1343 (3); and 42 U.S.C. §1983.

                                                                      B. NATURE OF CASE                            ·




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          7.        Why are you bringing this case to court? Describe the circumstances that led to the

          problem (include the who/what/when/where of your claims):




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                                          C. CAUSE OF ACTION

             6.     Plaintiff alleges that the following constitutional rights, privileges or immunities have

 been violated and that the following facts form the basis for the allegations:

                    1.      Count I: Plaintiff's Sixth Amendment and Liberty Interests to equal protection

 are denied by the Defendt:µlt based upon the following:        ~ 1]\;?.\:Jcu_c; \}~\f V ·\-5
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                2.        Count II:        Plaintiffs Eighth Amendment and Liberty Interests to be free

from cruel and unusual punishment have been violated by Defendants' actions in that

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                                                   D. INJURY




              E. PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

       13.     Plaintiff has not filed any other law suits in state or federal court dealing with the

same facts involved in this action.

       14.     Plaintiff has previously sought    inforrn~l   or formal relief from the appropriate

administrative officials regarding the acts complained of herein to no avail.

                                  F. REQUEST FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

               a)      Trial by jury.

               b)      That counsel be appointed to repre ent the Plaintiff in this action.

               c)      Punitive damages in the amount                                              ~\\Jxf~
                                                              .....,_......_..__..._._.,.,......._,_~~-




               d)      Compensatory damages in the amount of              ~52 ~ Jt)Q 0 .\)o u..4-f' 5

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            e)     Grant attorney fees and court costs for this action.

            f)     Such other and further relief the court deems just and proper.

      DATED this   QM    day of_=--g-~_tt_~~--=;_e.f_,___ _, 2o_t&



                                          Plaintiff, Attorney prose




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    Brian Oblad #152451
    UTAH ST A TE PRISON
    PO BOX 250
    DRAPER, UT 84020-0250




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